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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

EUGENE JONES                                                                                         PLAINTIFF
ADC #169865

v.                                      Case No. 4:21-cv-00378-LPR

DEXTER PAYNE, Director, ADC, et al.                                                              DEFENDANTS


                                                     ORDER

         The Court has received a Recommendation from United States Magistrate Judge Joe J.

Volpe. (Doc. 15). The parties have not filed objections and the time to do so has expired. After

a careful and de novo review of the Recommendation and the entire record, the Court concludes

that the Recommendation should be, and hereby is, approved and adopted as this Court’s findings

in all respects.1

         Accordingly, Plaintiff may proceed with his Eighth Amendment claim against Defendants

Budnik, Evans, and Kelly. All other claims and Defendants are DISMISSED without prejudice

as being improperly joined.2         The Court certifies, pursuant to 28 U.S.C. ' 1915(a)(3), that an in

forma pauperis appeal from this Order is considered frivolous and not in good faith.

         IT IS SO ORDERED this 4th day of November 2021.



                                                               ________________________________
                                                               LEE P. RUDOFSKY
                                                               UNITED STATES DISTRICT JUDGE




1
  The Court conducted a de novo review because some docket entries, while not technically objections, could be
read as arguing against the Recommendation.
2
  Nothing in this Order prevents Plaintiff from filing separate cases to pursue one or more of the claims dismissed by
this Order.
